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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS

ANTHONY MCLIN,                      )
                                    )
                  Plaintiff,        )
                                    )
vs.                                 )
                                    )                  Case No. 2:17-cv-2656
EXPERIAN INFORMATION                )
SOLUTIONS, INC., TRANS UNION, LLC )
AND EQUIFAX INFORMATION             )
SERVICES, LLC                       )
                                    )
                  Defendants.       )
___________________________________ )

             DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
                           NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. § 1441 et seq., Defendant Experian Information Solutions, Inc.

(“Experian”) hereby files this Notice of Removal of the above-captioned action to this Court.

       In further support of this Notice of Removal, Experian states as follows:

       1.      Experian is a named Defendant in Civil Action No. 2017-LM-004824 filed by

Plaintiff Anthony McLin (“Plaintiff”) in the District Court of Wyandotte County, Kansas Limited

Actions Division (the “State Court Action”).

       2.      The Complaint in the State Court Action was filed with the Clerk District Court of

Wyandotte County, Kansas Limited Actions Division on October 23, 2017. Experian was served

with the Summons and Complaint on October 30, 2017.

       3.      This Notice is timely because it is being filed with this Court within thirty (30) days

after Experian received a copy of Plaintiff’s initial pleading setting forth the claims for relief upon

which Plaintiff’s action is based.
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       4.      This United States District Court is the proper district court for removal because

the State Court Action is pending within this district.

       5.      Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit A is a true and correct

copy of all process, pleadings and orders from the State Court Action. The attached documents

are the only pleadings currently on the docket in the State Court Action.

       6.      Experian is a corporation which, for monetary fees, regularly engages in whole or

in part in the practice of assembling consumer credit information or other information on

consumers for the purpose of furnishing consumer reports to third parties. Experian uses means

or facilities of interstate commerce for the purpose of preparing or furnishing consumer reports,

and therefore is a “consumer reporting agency” within the meaning of 15 U.S.C. § 1681a(f).

       7.      Equifax Information Services, LLC (“Equifax”) is a corporation which, for

monetary fees, regularly engages in whole or in part in the practice of assembling credit

information or other information on consumers for the purpose of furnishing consumer reports to

third parties. Equifax uses means or facilities of interstate commerce for the purpose of preparing

or furnishing consumer reports, and therefore is a “consumer reporting agency” within the meaning

of 15 U.S.C. § 1681a(f).

       8.      Trans Union, LLC (“Trans Union”) is a corporation which, for monetary fees,

regularly engages in whole or in part in the practice of assembling credit information or other

information on consumers for the purpose of furnishing consumer reports to third parties. Trans

Union uses means or facilities of interstate commerce for the purpose of preparing or furnishing

consumer reports, and therefore is a “consumer reporting agency” within the meaning of 15 U.S.C.

§ 1681a(f).




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       9.      The claims for relief against Experian, Trans Union and Equifax alleged in the State

Court Action arise under the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. Thus, this Court

has original subject matter jurisdiction over the above-captioned action pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p. The above-captioned action may properly be removed to this

United States District Court pursuant to 28 U.S.C. § 1441(a).

       10.     As of the date of this Notice, Equifax and Trans Union have been served with the

Summons and Complaint in the State Court Action and consent to removing the above-captioned

action to this Court. Equifax’s and Trans Union’s consents to removal are attached hereto as

Exhibit B.

       11.     Promptly after the filing of this Notice of Removal, Experian shall provide notice

of the removal to Plaintiff through her attorney of record in the State Court Action, and shall file

a copy of this Notice with the clerk of the Court in the State Court Action, as required by 28 U.S.C.

§ 1446(d).

       WHEREFORE, Experian notices the removal of this case to the United States District

Court for the District of Kansas pursuant to 28 U.S.C. §1441 et seq.

                                                      HORN AYLWARD & BANDY, LLC

                                                      /s/ Danne W. Webb
                                                      Danne W. Webb                KS #22312
                                                      Andrea S. McMurtry           KS #24746
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                                                      Attorneys for Defendant
                                                      Experian Information Solutions, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of November 2017, a true and correct copy of the

foregoing NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. § 1441 was

electronically filed with the Court by CM/ECF and served upon the following by ECF notice and

by First Class Mail, postage prepaid, on the following:

 A.J. Stecklein                                     G. Gabe Zorogastua
 Michael Rapp                                       Polsinelli PC
 Stecklein & Rapp                                   900 West 48th Street, Suite 900
 748 Ann Avenue                                     Kansas City, MO 64112
 Kansas City, KS 66101                              Tel: 816-753-1000
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 Attorneys for Defendant Trans Union


                                                      /s/ Danne W. Webb
                                                      Attorney for Defendant
                                                      Experian Information Solutions, Inc.




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